         IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF MISSOURI
                       WESTERN DIVISION

UNITED STATES OF AMERICA,        )
                                 )
                 Plaintiff,      )
                                 )
    v.                           ) Criminal Action No.
                                 ) 05-00344-02-CR-W-ODS
STEVEN SANDSTROM,                )
                                 )
                 Defendant.      )
              REPORT AND RECOMMENDATION TO DENY
          DEFENDANT’S MOTION TO SUPPRESS STATEMENTS

     Before the court is defendant’s motion to suppress

statements he made on March 18, 2005, and on April 11, 2005,

on the grounds that he did not have counsel, he was in a

coercive atmosphere, he was intoxicated on narcotics, and

police promised him he would not be charged with homicide if

he cooperated.   I find that defendant was advised of his

Miranda rights, he voluntarily waived those rights, and he

voluntarily provided a statement to police on both March 18,

2005, and on April 11, 2005.     I further find that there is
no credible evidence that (1) defendant was in a coercive

environment, (2) that he was incapable of voluntarily

waiving his Miranda rights and providing a statement due to
methamphetamine use, or (3) that the police promised

defendant if he provided a statement he would not be charged

with homicide.   Therefore, defendant’s motion to suppress

should be denied.




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I.   BACKGROUND

     Defendant is charged by way of a superseding indictment

with two counts of interference with federally protected

activities, in violation of 18 U.S.C. § 245(b)(2)(B); one

count of using or discharging a firearm during a crime of

violence, in violation of 18 U.S.C. § 924(c)(1)(A)(iii); two

counts of using or discharging a firearm during a crime of

violence causing murder, in violation of 18 U.S.C. §§

924(c)(1)(A)(iii) and (j)(1); one count of tampering with a

witness, in violation of 18 U.S.C. §§ 1512(a)(1)(C) and

(a)(3)(A); one count of obstruction of justice, in violation

of 18 U.S.C. § 1519; one count of using fire to commit a

felony, in violation of 18 U.S.C. § 844(h)(1); and one count

of threatening to retaliate against a federal witness, in

violation of 18 U.S.C. § 1513(b)(2).          On March 14, 2006,
defendant Sandstrom filed the instant motion to suppress

(document number 58).       On April 14, 2006, the government

filed a response in opposition to the motion, arguing that

defendant signed a Miranda waiver form, did not appear to be
under the influence of narcotics, and was not made any

promises that he would not be charged with homicide

(document number 90).

     A hearing was held on April 24, 2006.         Defendant was

present, represented by John Gromowsky.        The government



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was represented by Assistant United States Attorneys Michael

Green and David Ketchmark.

      The following witnesses testified at the hearing:

      1.   Detective Matthew Williams, Kansas City, Missouri,
           Police Department.

      2.   Detective Robert Blehm, Kansas City, Missouri,
           Police Department.

      3.   FBI Special Agent Arch Gothard.

      4.   Defendant Steven Sandstrom.

In addition, the following exhibits were admitted:

      P. Ex. 1   Miranda waiver form.

      P. Ex. 2   Detective Investigation Report.

      P. Ex. 3   New Admit Appraisal Form from Jackson County
                 Detention Center.

      P. Ex. 4   Report of interview with defendant.

      P. Ex. 5   Miranda waiver form.

      P. Ex. 6   Report reflecting defendant’s admission to
                 the city jail on April 11, 2005, at 11:32
                 a.m.

      P. Ex. 7   New Admit Appraisal Form from Jackson County
                 Detention Center.
      P. Ex. 8   Interview Investigative Report.

II.   FINDINGS OF FACT

      On the basis of the evidence presented during the

hearing, I make the following findings of fact:




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     1.     On March 18, 2005, at 1:10 a.m., defendant was

admitted to the Jackson County Detention Center on warrants

unrelated to the murder case at issue here (Tr. at 44-45; P.

Ex. 3).    When defendant was admitted, he was asked whether

he had used any drugs in the past 24 hours, and he answered,

“crystal meth” (Tr. at 57).

     2.     Later in the evening of March 18, 2005, defendant

was interviewed by Detective Matthew Williams and Detective

Robert Blehm in relation to the murder of William McCay (Tr.

at 6-7, 36; P. Ex. 2).     Defendant had been in the Jackson

County Detention Center, but he was being released (Tr. at

31, 44).   Detective Williams and Detective Blehm were at the

detention center on defendant’s release and asked him if he

would agree to be questioned (Tr. at 31-32, 45).           Defendant

was driven to the police station, and he was not handcuffed
or shackled (Tr. at 31, 59).     He was not in custody, and the

police had no reason to hold him (Tr. at 32).

     3.     Prior to the interview, Detective Williams

completed a Detective Investigation Report which included

such matters as name, date of birth, family members,

addresses, employment, scars, identifiable features such as

tattoos and missing teeth (Tr. at 6).       On the form,

defendant was listed as a suspect, and he was listed as

being on probation/parole (Tr. at 8; P. Ex. 2).           Defendant

knew he was a suspect in the William McCay murder (Tr. at

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20-21).   Defendant was also noted as being cooperative (Tr.

at 8-9; P. Ex. 2).

     4.    During the preliminary questioning, Detective

Williams asked defendant if he was under the influence of

drugs or alcohol, and defendant said he was not (Tr. at 9,

38; P. Ex. 2).   The officers did not have access to the

admit form from Jackson County indicating that defendant had

admitted to using drugs within 24 hours of his admission, an

answer he had given at 1:10 a.m., or some 17 hours earlier

(Tr. at 58).   It was Detective Williams’ opinion, based on

his experience dealing with individuals under the influence

of alcohol or drugs, that defendant Sandstrom was not under

the influence of either during this questioning (Tr. at 10).

Defendant did not have slurred speech (Tr. at 10).           His

answers were appropriate to the questions asked (Tr. at 10).
There was no odor of alcohol about defendant Sandstrom (Tr.

at 10).   Based on these observations and defendant’s denial

of drug or alcohol use, Detective Williams noted on the

interview form that defendant was not under the influence of

alcohol or drugs (Tr. at 9-10; P. Ex. 2).         At no time during

the interview did defendant do anything to suggest to

Detective Williams that he was under the influence of drugs

or alcohol (Tr. at 18).

     5.    Prior to questioning defendant, he was presented

with a Miranda waiver form prepared by Detective Blehm (Tr.

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at 39).    Detective Blehm had defendant read the form out

loud, then he asked defendant to sign the form if he

understood his rights and was willing to speak with the

detectives (Tr. at 40, 41).      Detective Williams was also

present as defendant signed the form (Tr. at 12-13, 41).              No

promises were made to defendant that he would not be charged

with homicide if he cooperated (Tr. at 13, 70).

     6.     Defendant’s questioning began at 6:20 p.m. and

ended at 11:59 p.m. (Tr. at 14, 23, 32-33, 44, 61).

Defendant was given one soda during his interview (Tr. at

15, 24).   He never asked for food or any other drinks (Tr.

at 24, 27).   Detective Williams stated that he knew

defendant had been involved in the homicide that occurred at

9th and Brighton, and defendant stated that he had not been

there (Tr. at 28).    Detective Williams mentioned that one of
the vehicles involved in the homicide was stolen and had

been found, and defendant spent quite a bit of time rambling

about his history of being a car thief (Tr. at 22-23, 43).

Detective Williams and Detective Blehm confronted defendant

and said it was hard for them to believe that defendant was

not present when the murder took place, and they believed he

was withholding information and that he was involved in the

homicide (Tr. at 16, 25).      Defendant stated that he owes co-

defendant Gary Eye “from way back” and he would not rat him

out (Tr. at 16-17).       Defendant stated that he was surprised

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at the amount of information he had already provided (Tr. at

17, 26).   Detective Williams asked defendant if he knew

where the murder weapon was, and defendant said he believed

the gun was probably in the river (Tr. at 17).              Detective

Williams asked defendant how he knew that, but defendant

would not answer (Tr. at 17).

     7.    At no time during the interview did defendant give

any indication he was under the influence of drugs or

alcohol -- he did not slur his speech, he did not speak

incoherently, his answers were never non-responsive (Tr. at

18, 41).   At no time did defendant indicate he wanted to

stop the questioning (Tr. at 18).        At no time did defendant

request an attorney (Tr. at 18).         At no time during the

interview was defendant made any promises about whether or

not he would be prosecuted if he cooperated (Tr. at 19, 24,
41-42, 63).    At no time during the interview did Detective

Williams raise his voice (Tr. at 25, 69, 70).

     8.    After the interview concluded, defendant was

returned to the general area of his parents’ house because

he did not want to be taken directly to his parents’ house

in a police vehicle (Tr. at 15, 17, 23, 33, 43-44).

     9.    On April 11, 2005, defendant was arrested at 8:50

a.m. and was admitted to the city jail at 11:32 a.m. (Tr. at

55, 64, 83).   An officer went over booking questions with

defendant (Tr. at 75).     One of the questions is whether the

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person has used “crack/meth” (Tr. at 75).         The admit form

indicates that defendant reported having used “crack/meth”

in the previous 24 hours, and that box was checked (Tr. at

58, 76, 81).    The box indicating intoxication was not

checked (Tr. at 76).      An empty box means the response was

negative (Tr. at 76).

       10.   Later that day, defendant was interviewed by

Detective Blehm and FBI Special Agent Arch Gothard (Tr. at

72).   Prior to the interview on April 11, 2005, a Detective

Interview Report was not completed, because all of that

information had been gathered by Detective Williams on March

18, 2005 (Tr. at 10-11).     The officers did not have access

to the admit form from the city jail indicating that

defendant reported using drugs within 24 hours of his

admission (Tr. at 58).     Special Agent Gothard, however, knew
that defendant was a regular meth user (Tr. at 82, 84).

       11.   At 4:32 p.m. Detective Blehm presented defendant

with a Miranda waiver form, asked him to read it aloud and
to sign it if he understood his rights and was willing to

talk to the police (Tr. at 47, 48, 65, 72).         Defendant read

the form aloud and then signed the form (Tr. at 47, 73).

       12.   Defendant never appeared to be intoxicated or

under the influence of alcohol or drugs during questioning

(Tr. at 50-51, 68, 74).     Defendant did not slur his speech,

his answers were appropriate to the questions, he did not

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have any odor of intoxicants about his person, and there was

nothing else about his physical demeanor or the way he

conducted himself that led the officers to believe defendant

was under the influence of drugs or alcohol (Tr. at 74).

       13.   Detective Blehm and Special Agent Gothard told

defendant that they were not in a position to make any

promises to defendant about prosecution (Tr. at 51-52, 60,

70, 77).     Neither Detective Blehm nor Special Agent Gothard

made any promises to defendant in exchange for his

cooperation (Tr. at 77, 85).

       14.   Detective Blehm confronted defendant about

inconsistencies in what defendant had told police on March

18 (Tr. at 52, 79).       Defendant provided information which

conflicted with the information he had provided on March 18

(Tr. at 53).
       15.   Questioning ended at 7:10 p.m. (Tr. at 48).

During questioning, defendant was provided with a Sprite and

peanut M&Ms (Tr. at 49, 79).      At no time during questioning

did defendant indicate he wanted to stop being questioned,

he did not request an attorney, and he did not ask for any

food or drink other than the Sprite and M&Ms (Tr. at 49-50,

80).   At no time during the interview did anyone raise his

voice (Tr. at 69, 70, 78).

       16.   Once the interview was over, defendant was

returned to the detention unit (Tr. at 53).

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     17.    Defendant testified at the suppression hearing as

follows:

            a.    Defendant has a seventh grade education (Tr.

     at 88).     He has been a drug user for quite some time

     (Tr. at 89).    Defendant used methamphetamine every day,

     usually three to three and a half grams (Tr. at 89).

     On one occasion, defendant had been up for two straight

     weeks on methamphetamine (Tr. at 89).          Defendant’s

     typical pattern was to be up on meth for four days,

     then he would sleep for a day, then be up again for

     four more days (Tr. at 89).

            b.    On March 18, 2005, defendant was arrested

     sometime between 10:30 p.m. and midnight (Tr. at 90).

     Prior to his arrest, he had used about four grams of

     methamphetamine over the course of that day (Tr. at
     90).   He had been up for two to three days at the time

     of his arrest (Tr. at 90).

            c.    On April 11, 2005, defendant was arrested at

     8:50 a.m. (Tr. at 90).      He had used two to three grams

     of methamphetamine that day (Tr. at 90).

            d.    When defendant is using methamphetamine, he

     is sometimes calm and other times he will be up for a

     week or two straight (Tr. at 91).        Most of the time he

     does not think straight when he is using

     methamphetamine (Tr. at 91).

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           e.    Defendant was not asked by the detectives on

     either March 18 or April 11 whether he had been using

     drugs (Tr. at 91).     He told them he had been up for

     several days using dope, but he believed they did not

     seem concerned (Tr. at 91).

           f.    When defendant was picked up for questioning

     by Detective Blehm on March 18, he was put in handcuffs

     and leg irons (Tr. at 92).

           g.    Defendant does not remember a lot about March

     18 (Tr. at 92-93).     He does not remember any promises

     being made on March 18 (Tr. at 93).         However, on April

     11 Detective Blehm told defendant if he told Blehm what

     he wanted to hear, defendant would not be charged for

     the murder (Tr. at 93-94, 99).       This promise was made

     after defendant signed the Miranda waiver form (Tr. at

     94, 96).    Defendant knew what he was doing when he

     signed the form and was willing to talk to the police

     (Tr. at 94, 98).     Special Agent Gothard was in the room
     when Detective Blehm made this promise (Tr. at 99).

     18.   I do not find defendant’s testimony credible for

the following reasons:

           a.    Defendant first testified that he remembered

     signing the Miranda waiver form on April 11, and he
     knew what he was doing.      However, his other testimony

     about that day is inconsistent with having a memory of

                                 11




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    signing the form and “knowing what he was doing”.

    Defendant testified that he was “spun out” and his mind

    was going a hundred miles an hour.         He said he was not

    paying attention but was just acting like he was

    listening (Tr. at 101).      He also testified that he was

    so high he did not really understand his Miranda

    rights, although he previously testified that he knew

    what he was doing when he signed the Miranda waiver

    form, and he has a lengthy criminal history and is well

    familiar with Miranda rights (Tr. at 102).
          b.    Defendant first testified that he figured the

    officers should have been able to tell that defendant

    was high because they are law enforcement officers and

    should know such things (Tr. at 103).          Later, he said

    he specifically told the detectives he was high.

          c.    Defendant testified that Detective Blehm

    asked what was wrong because defendant looked a little

    tired, and defendant said he had been up for six days
    on meth (Tr. at 103).      He then changed his testimony to

    saying that he had been up for “a while” (Tr. at 103).

          d.    Defendant agreed that he did not use any

    drugs or alcohol between the time of his arrest at 8:50

    a.m., until his interview at 4:30 p.m. on April 11 (Tr.

    at 104).    Defendant explained that he uses enough

    methamphetamine in one day to stay up for two or three

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     days (Tr. at 104).     However, defendant had previously

     testified that he uses methamphetamine every day, not

     that his methamphetamine use will provide him with a

     two- to three-day high.

             e.   Defendant testified that he remembers

     answering “yes” when asked whether he had used drugs in

     the last 24 hours in March, but he does not remember

     answering “no” in April1 when the form indicates he

     said he had not used drugs in the last 24 hours (Tr. at

     107).    Defendant claiming to remember more about the

     occasion when he told the admitting personnel he was

     using drugs than the occasion when he told them he was

     not using drugs is not plausible.

             f.   Defendant testified that he does remember

     telling the officers he had used drugs when he was

     first admitted, but he does not remember being

     presented with the Miranda form 17 hours later because
     he was strung out on meth (Tr. at 109-110).
     Defendant’s worsening memory 17 hours after his

     admission when he says his memory was fine is not

     plausible.

             g.   Defendant testified that he was nodding off

     during his interview in March (Tr. at 111); however,

     1
      Defendant answered “no” when asked on April 12, the
day after his second statement (P. Ex. 7).

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     that is inconsistent with defendant’s “rambling on for

     quite some time” during that interview about what a

     good car thief he is.
III. VOLUNTARINESS OF DEFENDANT’S STATEMENTS

     Defendant challenges the voluntariness of his

statements on the grounds that he was in a coercive

atmosphere, he was intoxicated on narcotics, and he was

promised that he would not be charged with homicide if he

cooperated.

     The government bears the burden of proving by a

preponderance of the evidence that defendant made a knowing

and voluntary waiver of his Miranda rights.           Colorado v.

Connelly, 479 U.S. 157, 158 (1986); United States v.

Dougherty, 810 F.2d 763, 772 (8th Cir. 1987).              There is no

requirement that, to be voluntary, the waiver be the product

of a free will.    Connelly, 479 U.S. at 170.         The sole

concern of the Fifth Amendment, upon which Miranda was

based, is governmental coercion.         Id.; United States v.
Washington, 431 U.S. 181, 187 (1977).         The voluntariness of

a waiver of this privilege depends on the absence of police

overreaching, i.e., the relinquishment of the right must

have been voluntary in the sense that it was the product of

a free and deliberate choice rather than intimidation,

coercion or deception.     Connelly, 479 U.S. at 170; Moran v.



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Burbine, 475 U.S. 412, 420 (1986); Fare v. C., 442 U.S. 707,

726-27 (1979).

     An explicit statement of waiver is not invariably

necessary to support a finding that the defendant waived his

Miranda rights.    North Carolina v. Butler, 441 U.S. 369

(1979).   An express written or oral statement of waiver of

Miranda rights is usually strong proof of the validity of

that waiver, but is not inevitably either necessary or

sufficient to establish waiver.       Id. at 373.
     The question is not one of form, but rather whether the
     defendant in fact knowingly and voluntarily waived his
     rights delineated in the Miranda case. As was
     unequivocally said in Miranda, mere silence is not
     enough. That doesn’t mean that the defendant’s
     silence, coupled with an understanding of his rights
     and course of conduct indicating waiver, may never
     support a conclusion that a defendant has waived his
     rights. . . . [I]n at least some cases waiver can be
     clearly inferred from the actions and words of the
     person interrogated.

Id. at 373.

     Whether a defendant waived his Miranda rights is a

question of fact for the trial judge and must be determined
on the particular facts and circumstances surrounding the

case, including the background, experience and conduct of

the accused.    Id. at 374; United States v. Dougherty, 810
F.2d 763, 772 (8th Cir. 1987); Stumes v. Solem, 752 F.2d

317, 319 (8th Cir. 1985).      The totality of the circumstances

test applies.    Dougherty, 810 F.2d at 773.



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     In this case, defendant was advised of his Miranda

rights prior to each interview.       He read those rights aloud

and signed the form indicating he understood his rights and

agreed to talk to the police.      Defendant even testified at

the hearing that he signed the form, he knew what he was

doing, and he wanted to talk to the police:

     I signed the Miranda rights. I was willing to talk to
     them. I mean I ain’t got a problem talking to anybody.

(Tr. at 94).

     Q.    And that you, in fact, were willing and able to
           speak with them and when you signed this form you
           knew what you were doing?

     A.    Yeah.   I knew what I was doing.

(Tr. at 98).

     The questioning of defendant lasted five hours and 39

minutes in March, and two hours and 38 minutes in April.

This is not particularly lengthy for an interrogation.             See
Jenner v. Smith, 982 F.2d 328, 334 (8th Cir. 1993)

(questioning a suspect for six or seven hours is not
unconstitutionally coercive per se).        Although defendant

argues that his statement was involuntary in part because he

was in a coercive environment, defendant offered no evidence

at all on this factor.     The evidence establishes that

defendant was not in custody during the March interview, he

was not handcuffed, he was provided with all the

refreshments he requested, no one raised his voice during


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the questioning, and defendant was taken back to his home

when the interview concluded.      The evidence establishes that

defendant was questioned while he was in custody on another

matter in April; however, no one raised his voice during the

questioning, and defendant was provided with all of the

refreshments he requested.      There is no plausible evidence

that the atmosphere was coercive.

      Custodial statements are not per se involuntary

because of intoxication.     United States v. Brown, 535 F.2d

424, 427 (8th Cir. 1976); United States v. Harden, 480 F.2d

649, 651 (8th Cir. 1973).      The standard is whether, by

reason of intoxication or other factor, the defendant’s

“will was overborne” or whether his statements were the

“product of a rational intellect and a free will.”            Townsend

v. Sain, 372 U.S. 293, 307 (1963).

     A suspect’s use of methamphetamine shortly before being

arrested does not nullify that suspect’s ability to

voluntarily consent.      In United States v. Contreras, 372
F.3d 974 (8th Cir. 2004), cert. denied, 126 S. Ct. 246

(2005), the defendant had used methamphetamine the day

before he gave consent and had used marijuana the day of his

consent.   In that case, the detectives testified that the

defendant appeared to be sober and in control of his

faculties at the time he consented.       The court therefore



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found that the consent was voluntary despite the recent drug

use.

       Such is the case here.     During the March interview,

defendant was arrested sometime around midnight and was

admitted to the Jackson County Detention Center at 1:10 a.m.

He was questioned by the detectives beginning at 6:20 p.m. -

- more than 18 hours after his arrest.         When the questioning

with the detectives began, defendant was specifically asked

whether he had used drugs during the previous 24 hours, and

he said he had not.       Defendant was able to read the Miranda

rights form aloud without difficulty.         Neither Detective

Williams nor Detective Blehm observed any signs that

defendant was impaired through drug or alcohol use.

Defendant talked at length about his skills as a car thief,

his answers were responsive and appropriate to the questions

asked, he did not appear confused or disoriented.             During

his statement, defendant gave addresses, he talked about the

history of his business stealing cars and taking them to a
chop shop until it closed down, and he provided details on

how to steal certain cars.       There simply is no credible

evidence that defendant was impaired during his March

interview due to methamphetamine use.

       In April, defendant was arrested at 8:50 a.m., and the

detectives began their interview at 4:32 p.m. -- seven hours

and 42 minutes later, time during which defendant could not

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have been using drugs.     Defendant was able to read the

Miranda form aloud, and he exhibited no signs of being under

the influence of drugs or alcohol.       Defendant was able to

provide addresses, he provided specific detail about the

times and places where certain events happened.           Defendant

also had the wherewithal to refuse to make a formal

videotaped statement after his interview with police.

Again, there is no plausible evidence that defendant was

impaired by methamphetamine to the extent he was unable to

voluntarily waive his Miranda rights and provide a voluntary
statement to police.

     Finally, defendant argues in his motion that he

provided a statement after he was promised by the police

that he would not be charged with murder.         However,

defendant admitted that there was no such promise during his

March statement.    The only evidence of such a promise during

defendant’s April statement is his own testimony which I

have found not credible.
     Based on all of the above, I find that defendant was

advised of his Miranda rights, he voluntarily waived those
rights, and he voluntarily provided a statement to police on

both March 18, 2005, and on April 11, 2005.          Therefore,

defendant’s motion to suppress his statements should be

denied.



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IV.   CONCLUSION

      Based on all of the above, I conclude that defendant

was advised of his Miranda rights, he voluntarily waived

those rights, and he voluntarily provided a statement to

police on both March 18, 2005, and on April 11, 2005.             I

further find that there is no credible evidence that (1)

defendant was in a coercive environment, (2) that he was

incapable of voluntarily waiving his Miranda rights and

providing a statement due to methamphetamine use, or (3)

that the police promised defendant if he provided a

statement he would not be charged with homicide.

      Therefore, it is

      RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to suppress statements.

      Counsel are advised that, pursuant to 28 U.S.C. §

636(b)(1), each has ten days from the date of receipt of a

copy of this report and recommendation to file and serve

specific objections.



                                    /s/ Robert E. Larsen
                                  ROBERT E. LARSEN
                                  United States Magistrate Judge

Kansas City, Missouri
September 8, 2006




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